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              Exhibit “B”
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IP Addresses                      Organization                  First Seen                  Last Seen                      Duration Seen
104.26.15.116Â 104.26.14.116Â     Cloudflare, Inc.              2019-11-03Â (3 monthsÂ ago) 2020-02-06Â (22 hoursÂ ago)    3 months
104.25.166.114Â 104.25.165.114Â   Cloudflare, Inc.              2018-04-02Â (1 yearÂ ago) 2019-11-03Â (3 monthsÂ ago)      1 year
104.18.45.91Â 104.18.44.91Â       Cloudflare, Inc.              2016-07-15Â (3 yearsÂ ago) 2018-04-02Â (1 yearÂ ago)       1 year
                                  Comcast Cable
174.49.73.68Â                     Communications, LLC           2015-12-10Â (4 yearsÂ ago)    2016-07-15Â (3 yearsÂ ago)   7 months
                                  Comcast Cable
73.43.28.181Â                     Communications, LLC           2015-03-12Â (4 yearsÂ ago)    2015-12-10Â (4 yearsÂ ago)   9 months
                                  Comcast Cable
50.180.157.166Â                   Communications, LLC           2014-08-17Â (5 yearsÂ ago)    2015-03-12Â (4 yearsÂ ago)   6 months
216.22.14.138Â                    Leaseweb USA, Inc.            2014-03-27Â (5 yearsÂ ago)    2014-08-17Â (5 yearsÂ ago)   4 months
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2014-03-26Â (5 yearsÂ ago)    2014-03-27Â (5 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2013-10-26Â (6 yearsÂ ago)    2014-03-26Â (5 yearsÂ ago)   5 months
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2013-10-25Â (6 yearsÂ ago)    2013-10-26Â (6 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2013-10-08Â (6 yearsÂ ago)    2013-10-25Â (6 yearsÂ ago)   17 days
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2013-10-07Â (6 yearsÂ ago)    2013-10-08Â (6 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2013-04-17Â (6 yearsÂ ago)    2013-10-07Â (6 yearsÂ ago)   5 months
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2013-04-16Â (6 yearsÂ ago)    2013-04-17Â (6 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2012-07-23Â (7 yearsÂ ago)    2013-04-16Â (6 yearsÂ ago)   8 months
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2012-07-22Â (7 yearsÂ ago)    2012-07-23Â (7 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2010-12-24Â (9 yearsÂ ago)    2012-07-22Â (7 yearsÂ ago)   1 year
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2010-12-23Â (9 yearsÂ ago)    2010-12-24Â (9 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2010-03-31Â (9 yearsÂ ago)    2010-12-23Â (9 yearsÂ ago)   8 months
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2010-03-30Â (9 yearsÂ ago)    2010-03-31Â (9 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2010-02-27Â (9 yearsÂ ago)    2010-03-30Â (9 yearsÂ ago)   1 month
216.22.14.138Â 216.22.14.138Â     Leaseweb USA, Inc.            2010-02-26Â (9 yearsÂ ago)    2010-02-27Â (9 yearsÂ ago)   1 day
216.22.14.138Â                    Leaseweb USA, Inc.            2009-11-15Â (10 yearsÂ ago)   2010-02-26Â (9 yearsÂ ago)   3 months
                                  The Endurance International
66.242.17.244Â                    Group, Inc.                   2008-08-31Â (11 yearsÂ ago) 2009-11-15Â (10 yearsÂ ago) 1 year
